         Case 23-09001 Document 343 Filed in TXSB on 07/08/23 Page 1 of 20




                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

                                               :
In re:                                               Chapter 11
                                               :
SERTA SIMMONS BEDDING, LLC, et al.,            :     Case No. 23-90020 (DRJ)
                                               :
                                    Debtors.   :     (Jointly Administered)
                                               :
                                               :
SERTA SIMMONS BEDDING, LLC, INVESCO
                                               :
SENIOR SECURED MANAGEMENT, INC., CREDIT
                                               :
SUISSE ASSET MANAGEMENT, LLC, BOSTON
                                               :
MANAGEMENT AND RESEARCH, EATON
                                               :
VANCE MANAGEMENT, AND BARINGS LLC,
                                               :
                                               :     Adversary Proc. No. 23-09001 (DRJ)
       Plaintiffs and Counterclaim Defendant,
                                               :
               v.                              :
                                               :
AG CENTRE STREET PARTNERSHIP L.P., AG          :
CREDIT SOLUTIONS NON-ECI MASTER FUND,          :
L.P., AG SF MASTER (L), L.P., AG SUPER FUND    :
MASTER, L.P., SILVER OAK CAPITAL, L.L.C.,      :
ASCRIBE III INVESTMENTS, LLC, COLUMBIA         :
CENT CLO 21 LIMITED, COLUMBIA CENT CLO 27 :
LIMITED, COLUMBIA FLOATING RATE INCOME         :
FUND, A SERIES OF COLUMBIA FUNDS SERIES        :
TRUST II, COLUMBIA STRATEGIC INCOME FUND, :
A SERIES OF COLUMBIA FUNDS SERIES TRUST I, :
CONTRARIAN CAPITAL FUND I, L.P.,               :
CONTRARIAN CENTRE STREET PARTNERSHIP,          :
L.P., CONTRARIAN DISTRESSED DEBT FUND, L.P., :
GAMUT CAPITAL SSB, LLC, LCM XXII LTD., LCM :
XXIII LTD., LCM XXIV LTD., LCM XXV LTD., LCM :
26 LTD., LCM 27 LTD., LCM 28 LTD., NORTH STAR :
DEBT HOLDINGS, L.P., SHACKLETON 2013- III      :
CLO, LTD., SHACKLETON 2013-IV-R CLO, LTD.,     :
SHACKLETON 2014-V-R CLO, LTD., SHACKLETON :
2015-VII-R CLO, LTD., SHACKLETON 2017-XI CLO, :
LTD., Z CAPITAL CREDIT PARTNERS CLO 2018-1     :
LTD., AND Z CAPITAL CREDIT PARTNERS CLO        :
2019-1 LTD.,                                   :
                                               :
       Defendants and Counterclaim Plaintiffs, :
                                               :
                                               :
                                         1
     Case 23-09001 Document 343 Filed in TXSB on 07/08/23 Page 2 of 20




           v.                                  :
                                               :
AGF FLOATING RATE INCOME FUND,                 :
BRIGHTHOUSE FUNDS TRUST I -                    :
BRIGHTHOUSE/EATON VANCE FLOATING RATE :
PORTFOLIO, CALVERT MANAGEMENT SERIES -         :
CALVERT FLOATING-RATE ADVANTAGE FUND, :
EATON VANCE CLO 2013-1 LTD., EATON VANCE       :
CLO 2014-1R LTD., EATON VANCE CLO 2015-1 LTD., :
EATON VANCE CLO 2018-1 LTD., EATON VANCE       :
CLO 2019-1 LTD., EATON VANCE LOAN HOLDING :
LIMITED, EATON VANCE FLOATING-RATE             :
INCOME PLUS FUND, EATON VANCE FLOATING- :
RATE 2022 TARGET TERM TRUST, EATON VANCE :
SENIOR FLOATING-RATE TRUST, EATON VANCE :
FLOATING-RATE INCOME TRUST, EATON VANCE :
INTERNATIONAL (CAYMAN ISLANDS) FLOATING- :
RATE INCOME PORTFOLIO, EATON VANCE SENIOR:
INCOME TRUST, EATON VANCE SHORT DURATION :
DIVERSIFIED INCOME FUND, EATON VANCE           :
INSTITUTIONAL SENIOR LOAN FUND, EATON          :
VANCE INSTITUTIONAL SENIOR LOAN PLUS           :
FUND, EATON VANCE LIMITED DURATION             :
INCOME FUND, EATON VANCE FLOATING RATE :
PORTFOLIO, SENIOR DEBT PORTFOLIO, EATON        :
VANCE VT FLOATING RATE INCOME FUND,            :
BENTHAM SYNDICATED LOAN FUND, DAVINCI          :
REINSURANCE LTD., RENAISSANCE INVESTMENT :
HOLDINGS LTD., CALIFORNIA STATE TEACHERS’ :
RETIREMENT SYSTEM, DOLLAR SENIOR LOAN          :
FUND, LTD., DOLLAR SENIOR LOAN MASTER          :
FUND II, LTD., BA/CSCREDIT 1 LLC, PK-SSL       :
INVESTMENT FUND LIMITED PARTNERSHIP,           :
COPPERHILL LOAN FUND I, LLC, THE EATON         :
CORPORATION MASTER RETIREMENT TRUST,           :
ERIE INDEMNITY COMPANY, MADISON                :
FLINTHOLM SENIOR LOAN FUND I DAC, PHILLIPS :
66 RETIREMENT PLAN TRUST, WIND RIVER FUND :
LLC, BLUE SHIELD OF CALIFORNIA, ERIE           :
INSURANCE EXCHANGE, THE CITY OF NEW YORK :
GROUP TRUST, MARYLAND STATE RETIREMENT :
AND PENSION SYSTEM, CREDIT SUISSE FLOATING :
RATE TRUST, CREDIT SUISSE FLOATING RATE        :
HIGH INCOME FUND, CREDIT SUISSE STRATEGIC :
INCOME FUND, COMMONWEALTH OF                   :
PENNSYLVANIA TREASURY DEPARTMENT, STATE :
OF NEW MEXICO STATE INVESTMENT COUNCIL, :
                                      2
     Case 23-09001 Document 343 Filed in TXSB on 07/08/23 Page 3 of 20




CREDIT SUISSE NOVA (LUX), KP FIXED INCOME      :
FUND, BENTHAM STRATEGIC LOAN FUND,             :
TELSTRA SUPERANNUATION SCHEME, WESPATH :
FUNDS TRUST, INFLATION PROTECTION FUND-I :
SERIES, MADISON PARK FUNDING X, LTD.,          :
MADISON PARK FUNDING XI, LTD., MADISON         :
PARK FUNDING XII, LTD., MADISON PARK           :
FUNDING XIII, LTD., MADISON PARK FUNDING       :
XIV, LTD., MADISON PARK FUNDING XV, LTD.,      :
MADISON PARK FUNDING XVI, LTD., MADISON        :
PARK FUNDING XVII, LTD., MADISON PARK          :
FUNDING XVIII, LTD., MADISON PARK FUNDING :
XIX, LTD., MADISON PARK FUNDING XX, LTD.,      :
MADISON PARK FUNDING XXI, LTD., MADISON        :
PARK FUNDING XXII, LTD., MADISON PARK          :
FUNDING XXIII, LTD., MADISON PARK FUNDING :
XXIV, LTD., MADISON PARK FUNDING XXV, LTD., :
MADISON PARK FUNDING XXVI, LTD., MADISON :
PARK FUNDING XXVII, LTD., MADISON PARK         :
FUNDING XXVIII, LTD., MADISON PARK FUNDING :
XXIX, LTD., MADISON PARK FUNDING XXX, LTD., :
MADISON PARK FUNDING XXXI, LTD., MADISON :
PARK FUNDING XXXII, LTD., MADISON PARK         :
FUNDING XXXIV, LTD., MADISON PARK FUNDING :
XXXV, LTD., MADISON PARK FUNDING XXXVII,       :
LTD., MADISON PARK FUNDING XL, LTD.,           :
MADISON PARK FUNDING XLI, LTD., MADISON        :
PARK FUNDING XLII, LTD., MADISON PARK          :
FUNDING XLIII, LTD., MADISON PARK FUNDING :
XLIV, LTD., ONE ELEVEN FUNDING I, LTD., ONE    :
ELEVEN FUNDING II, LTD., BARINGS GLOBAL        :
LOAN LIMITED, BARINGS GLOBAL SPECIAL           :
SITUATIONS CREDIT 3 S.A.R.L., BARINGS GLOBAL :
HIGH YIELD CREDIT STRATEGIES LIMITED,          :
BARINGS U.S. LOAN LIMITED, BARINGS CLO LTD. :
2018-III, BARINGS CLO LTD. 2017-I, BARINGS CLO :
LTD. 2019-II, BARINGS CLO LTD. 2016-I, BARINGS :
CLO LTD. 2015-I, BARINGS CLO LTD. 2016-II,     :
BARINGS CLO LTD. 2018-I, BARINGS CLO LTD.      :
2015-II, BARINGS CLO LTD. 2013-I, BARINGS CLO :
LTD. 2018-IV, BALOISE SENIOR SECURED LOAN      :
FUND, BAYVK R2-FONDS SEGMENT BAYVK R2          :
BARINGS, CROWN MANAGED ACCOUNTS SPC -          :
CROWN/BA 2 SP, BABSON CLO LTD. 2014-I, G.A.S. :
(CAYMAN) LIMITED, SERENGETI (LOAN FUND), A :
SERIES TRUST OF THE MULTI STRATEGY             :
UMBRELLA FUND CAYMAN, BARINGS GLOBAL           :
                                      3
     Case 23-09001 Document 343 Filed in TXSB on 07/08/23 Page 4 of 20




MULTI-CREDIT STRATEGY 1 LIMITED, BARINGS :
GLOBAL MULTI-CREDIT STRATEGY 2 LIMITED,       :
BARINGS GLOBAL MULTI-CREDIT STRATEGY 3        :
LIMITED, BARINGS GLOBAL MULTI-CREDIT          :
STRATEGY 4 LIMITED, BARINGS BDC SENIOR        :
FUNDING I, LLC, BARINGS GLOBAL FLOATING       :
RATE FUND, A SERIES OF BARINGS FUND TRUST, :
BARINGS SEGREGATED LOANS 3 S.A R.L, BARINGS :
BDC, INC., BARINGS GLOBAL LOAN AND HIGH       :
YIELD BOND LIMITED, BARINGS GLOBAL CREDIT :
INCOME OPPORTUNITIES FUND, ARROWOOD           :
INDEMNITY COMPANY, ARROWOOD INDEMNITY :
AS ADMINISTRATOR OF THE PENSION PLAN OF       :
ARROWOOD INDEMNITY, JOCASSEE PARTNERS         :
LLC, FIRST EAGLE BANK LOAN SELECT MASTER :
FUND, FIRST EAGLE SENIOR LOAN FUND (FSLF), :
KVK CLO 2013-1 LTD., KVK CLO 2016-1 LTD., KVK :
CLO 2018-1 LTD., RUSSELL ABSOLUTE RETURN      :
FIXED INCOME FUND, RUSSELL FLOATING RATE :
FUND, RUSSELL GLOBAL UNCONSTRAINED BOND :
POOL, RUSSELL MULTI-ASSET CORE PLUS FUND, :
RUSSELL UNCONSTRAINED TOTAL RETURN            :
FUND, STANIFORD STREET CLO LTD., STICHTING :
PENSIOENFONDS HOOGOVENS, WIND RIVER 2012- :
1 CLO LTD., WIND RIVER 2013-1 CLO LTD., WIND :
RIVER 2013-2 CLO LTD., WIND RIVER 2014-1 CLO :
LTD., WIND RIVER 2014-2 CLO LTD., WIND RIVER :
2014-3 CLO LTD., WIND RIVER 2014-3K CLO LTD., :
WIND RIVER 2015-1 CLO LTD., WIND RIVER 2015-2 :
CLO LTD., WIND RIVER 2016-1 CLO LTD., WIND    :
RIVER 2016-2 CLO LTD., WIND RIVER 2017-1 CLO :
LTD., WIND RIVER 2017-4 CLO LTD., WIND RIVER :
2018-3 CLO LTD., WIND RIVER 2019-3 CLO LTD.,  :
ANNISA CLO, LTD., BETONY CLO 2, LTD., BOC     :
PENSION INVESTMENT FUND, CARBONE CLO,         :
LTD., DIVERSIFIED CREDIT PORTFOLIO LTD.,      :
INVESCO BL FUND, LTD., INVESCO DYNAMIC        :
CREDIT OPPORTUNITIES FUND, INVESCO            :
FLOATING RATE FUND, INVESCO FLOATING RATE :
INCOME FUND, INVESCO GEMINI US LOAN FUND :
LLC, INVESCO OPPENHEIMER MASTER LOAN          :
FUND, INVESCO OPPENHEIMER SENIOR FLOATING :
RATE FUND, INVESCO OPPENHEIMER SENIOR         :
FLOATING RATE PLUS FUND, INVESCO SENIOR       :
INCOME TRUST, INVESCO SENIOR LOAN FUND,       :
INVESCO SSL FUND LLC, INVESCO ZODIAC FUNDS :
- INVESCO US SENIOR LOAN ESG FUND, INVESCO :
                                     4
     Case 23-09001 Document 343 Filed in TXSB on 07/08/23 Page 5 of 20




ZODIAC FUNDS - INVESCO US SENIOR LOAN        :
FUND, KAISER PERMANENTE GROUP TRUST,         :
KAPITALFORENINGEN INVESTIN PRO, US           :
LEVERAGED LOANS I, MILOS CLO, LTD., RECETTE :
CLO, LTD., RISERVA CLO, LTD., SENTRY         :
INSURANCE COMPANY, UPLAND CLO, LTD.,         :
HARBOURVIEW CLO VII-R, LTD., INVESCO         :
OPPENHEIMER FUNDAMENTAL ALTERNATIVES :
FUND, OAKTREE OPPORTUNITIES FUND XB          :
HOLDINGS (DELAWARE), LP, OAKTREE OPPS X      :
HOLDCO LTD., OAKTREE OPPORTUNITIES FUND X :
HOLDINGS (DELAWARE) LP, DRYDEN XXV SENIOR:
LOAN FUND, DRYDEN XXVI SENIOR LOAN FUND, :
DRYDEN XXVIII SENIOR LOAN FUND, DRYDEN 30 :
SENIOR LOAN FUND, DRYDEN 33 SENIOR LOAN      :
FUND, DRYDEN 36 SENIOR LOAN FUND, DRYDEN :
37 SENIOR LOAN FUND, DRYDEN 38 SENIOR LOAN :
FUND, DRYDEN 40 SENIOR LOAN FUND, DRYDEN :
41 SENIOR LOAN FUND, DRYDEN 42 SENIOR LOAN :
FUND, DRYDEN 43 SENIOR LOAN FUND, DRYDEN :
45 SENIOR LOAN FUND, DRYDEN 47 SENIOR LOAN :
FUND, DRYDEN 49 SENIOR LOAN FUND, DRYDEN :
50 SENIOR LOAN FUND, DRYDEN 54 SENIOR LOAN :
FUND, DRYDEN 53 CLO, LTD., DRYDEN 55 CLO,    :
LTD., DRYDEN 57 CLO, LTD., DRYDEN 58 CLO,    :
LTD., DRYDEN 60 CLO, LTD., DRYDEN 61 CLO,    :
LTD., DRYDEN 64 CLO, LTD., DRYDEN 65 CLO,    :
LTD., DRYDEN 70 CLO, LTD., DRYDEN 75 CLO,    :
LTD., NEWARK BSL CLO 1, LTD., NEWARK BSL     :
CLO 2, LTD., VENTURE XXV CLO, LIMITED,       :
VENTURE 31 CLO, LIMITED, VENTURE 32 CLO,     :
LIMITED, VENTURE 33 CLO, LIMITED, VENTURE 35 :
CLO, LIMITED, VENTURE XVII CLO LIMITED,      :
VENTURE XXII CLO, LIMITED, VENTURE XXIX      :
CLO, LIMITED, VENTURE XXVII CLO, LIMITED,    :
VENTURE 28A CLO, LIMITED, VENTURE XII CLO, :
LIMITED, VENTURE XIII CLO, LIMITED, VENTURE :
XIV CLO, LIMITED, VENTURE XIX CLO, LIMITED, :
VENTURE XV CLO, LIMITED, VENTURE XVI CLO, :
LIMITED, VENTURE XVIII CLO, LIMITED, VENTURE:
XX CLO, LIMITED, VENTURE XXI CLO, LIMITED, :
VENTURE XXIII CLO, LIMITED, VENTURE XXIV     :
CLO, LIMITED, VENTURE XXVIII CLO, LIMITED,   :
VENTURE XXX CLO, LIMITED, BSG FUND           :
MANAGEMENT B.V., FIXED INCOME                :
OPPORTUNITIES NERO, LLC, BLACKROCK           :
LIMITED DURATION INCOME TRUST, BLACKROCK :
                                     5
      Case 23-09001 Document 343 Filed in TXSB on 07/08/23 Page 6 of 20




GLOBAL INVESTMENT SERIES: INCOME                 :
STRATEGIES PORTFOLIO, BLACKROCK CREDIT           :
STRATEGIES INCOME FUND OF BLACKROCK              :
FUNDS V, BLACKROCK SENIOR FLOATING RATE :
PORTFOLIO, BLACKROCK FLOATING RATE               :
INCOME STRATEGIES FUND, INC., BLACKROCK          :
MULTI-ASSET INCOME PORTFOLIO OF                  :
BLACKROCK FUNDS II, BLACKROCK DEBT               :
STRATEGIES FUND, INC., BLACKROCK FLOATING :
RATE INCOME TRUST, JPMBI RE BLACKROCK            :
BANKLOAN FUND, BLACKROCK FLOATING RATE :
INCOME PORTFOLIO OF BLACKROCK FUNDS V,           :
ABR REINSURANCE LTD., NC GARNET FUND, LP, :
MAGNETITE XC, LIMITED, MAGNETITE XV,             :
LIMITED, MAGNETITE XIV-R, LIMITED,               :
MAGNETITE XVI, LIMITED, MAGNETITE VIII,          :
LIMITED, MAGNETITE XVIII, LIMITED,               :
MAGNETITE XIX, LIMITED, MAGNETITE XX,            :
LIMITED, MAGNETITE XVII, LIMITED, MAGNETITE :
VII, LIMITED, MAGNETITE XII, LIMITED, NUVEEN :
DIVERSIFIED DIVIDEND AND INCOME FUND,            :
NUVEEN FLOATING RATE INCOME FUND, NUVEEN:
FLOATING RATE INCOME OPPORTUNITY FUND,           :
NUVEEN SENIOR INCOME FUND, NUVEEN SHORT :
DURATION CREDIT OPPORTUNITIES FUND,              :
NUVEEN SYMPHONY FLOATING RATE INCOME             :
FUND, PRINCIPAL FUNDS, INC - DIVERSIFIED REAL:
ASSET FUND, SYMPHONY CLO XX LTD.,                :
SYMPHONY CLO XVII, LTD., SYMPHONY CLO XIX :
LTD., SYMPHONY CLO XVII, LTD., SYMPHONY CLO :
XV, LTD., SYMPHONY CLO XIV, LTD., SYMPHONY :
CLO XVI, LTD., TCI-SYMPHONY 2017-1 LTD., TCI- :
SYMPHONY 2016-1 LTD., SYMPHONY FLOATING          :
RATE SENIOR LOAN FUND, SCOF-2 LTD., BAYCITY :
ALTERNATIVE INVESTMENT FUNDS SICAV-SIF - :
BAYCITY US SENIOR LOAN FUND, BAYCITY             :
SENIOR LOAN MASTER FUND LTD.,                    :
PENSIONDANMARK                                   :
PENSIONFORSIKRINGSAKTIESELSKAB, MENARD, :
INC., MUNICIPAL EMPLOYEES ANNUITY &              :
BENEFIT FUND OF CHICAGO, PRINCIPAL               :
DIVERSIFIED REAL ASSET CIT, CALIFORNIA           :
STREET CLO IX LIMITED PARTNERSHIP,               :
CALIFORNIA STREET CLO XII, LTD., TAO FUND,       :
LLC, MP CLO III LTD., MP CLO IV LTD., MP CLO VII :
LTD., MP CLO VIII LTD., MARBLE POINT CLO X       :
LTD., MARBLE POINT CLO XI LTD., MARBLE POINT :
                                       6
       Case 23-09001 Document 343 Filed in TXSB on 07/08/23 Page 7 of 20




CLO XII LTD., MPLF FUNDING LTD., MPSFR         :
FINANCING 1 LTD., MARATHON CLO V LTD.,         :
MARATHON CLO VII LTD., MARATHON CLO VIII :
LTD., MARATHON CLO IX LTD., MARATHON CLO X :
LTD., MARATHON CLO XI LTD., BOWERY             :
FUNDING ULC, WOODBINE FUNDING ULC,             :
ELEVATION CLO 2013-1, LTD., ELEVATION CLO      :
2014-2, LTD., ELEVATION CLO 2015-4, LTD.,      :
ELEVATION CLO 2016-5, LTD., ELEVATION CLO      :
2017-6, LTD., ELEVATION CLO 2017-7, LTD.,      :
ELEVATION CLO 2017-8 LTD., ELEVATION CLO       :
2018-9, LTD., ELEVATION CLO 2018-10, LTD., and :
PEAKS CLO 3, LTD.,                             :
                                               :
       Counterclaim Defendants.                :
                                               :

                        EXCLUDED LENDERS APPELLANTS’
                     DESIGNATION OF THE RECORD ON APPEAL

       Pursuant to Rule 8009(a) of the Federal Rules of Bankruptcy Procedure, AG Centre Street

Partnership L.P., AG Credit Solutions Non-ECI Master Fund, L.P., AG Super Fund Master, L.P.,

AG SF Master (L), L.P., Silver Oak Capital, L.L.C., Ascribe III Investments, LLC, Columbia Cent

CLO 21 Limited, Columbia Cent CLO 27 Limited, Columbia Floating Rate Fund, a series of

Columbia Funds Series Trust II, Columbia Strategic Income Fund, a series of Columbia Funds

Series Trust I, Contrarian Capital Fund I, L.P., Contrarian Distressed Debt Fund, L.P., Contrarian

Centre Street Partnership, L.P., Gamut Capital SSB, LLC, North Star Debt Holdings, L.P.,

Shackleton 2013-III CLO, Ltd., Shackleton 2013-IV-R CLO, Ltd., Shackleton 2014-V-R CLO,

Ltd., Shackleton 2015-VII-R CLO, Ltd., Shackleton 2017-XI CLO, Ltd., Z Capital Credit Partners

CLO 2018-1 Ltd., and Z Capital Credit Partners CLO 2019-1 Ltd. (collectively, the “Excluded

Lenders”), by and through their undersigned counsel, respectfully submit the following

designation of items for inclusion in the record on appeal in connection with the Excluded Lenders




                                                7
        Case 23-09001 Document 343 Filed in TXSB on 07/08/23 Page 8 of 20




Appellants’ appeal from the Order on the Adversary Proceeding issued on June 14, 2023.

[Adversary Proceeding 328, Bankruptcy Docket 1070 1].

                              Designation of the Record on Appeal


        The Excluded Lenders Appellants designate each of the docket sheets and the following

documents from the proceedings indicated in each of the tables below for inclusion in the record

on appeal. The following designations of pleadings and matters of record include all exhibits

attached or referred to in the designated items.



            SERTA SIMMONS BEDDING, LLC, INVESCO SENIOR SECURED
     MANAGEMENT, INC., CREDIT SUISSE ASSET MANAGEMENT, LLC, BOSTON
         MANAGEMENT AND RESEARCH, EATON VANCE MANAGEMENT, and
                                  BARINGS LLC,
                                         v.
      AG CENTRE STREET PARTNERSHIP L.P., AG CREDIT SOLUTIONS NON-ECI
     MASTER FUND, L.P., AG SF MASTER (L), L.P., AG SUPER FUND MASTER, L.P.,
     SILVER OAK CAPITAL, L.L.C., ASCRIBE III INVESTMENTS, LLC, COLUMBIA
       CENT CLO 21 LIMITED, COLUMBIA CENT CLO 27 LIMITED, COLUMBIA
      FLOATING RATE INCOME FUND, A SERIES OF COLUMBIA FUNDS SERIES
     TRUST II, COLUMBIA STRATEGIC INCOME FUND, A SERIES OF COLUMBIA
     FUNDS SERIES TRUST I, CONTRARIAN CAPITAL FUND I, L.P., CONTRARIAN
       CENTRE STREET PARTNERSHIP, L.P., CONTRARIAN DISTRESSED DEBT
    FUND, L.P., GAMUT CAPITAL SSB, LLC, LCM XXII LTD., LCM XXIII LTD., LCM
     XXIV LTD., LCM XXV LTD., LCM 26 LTD., LCM 27 LTD., LCM 28 LTD., NORTH
    STAR DEBT HOLDINGS, L.P., SHACKLETON 2013- III CLO, LTD., SHACKLETON
     2013-IV-R CLO, LTD., SHACKLETON 2014-V-R CLO, LTD., SHACKLETON 2015-
        VII-R CLO, LTD., SHACKLETON 2017-XI CLO, LTD., Z CAPITAL CREDIT
     PARTNERS CLO 2018-1 LTD., AND Z CAPITAL CREDIT PARTNERS CLO 2019-1
                                       LTD.,
                             Adversary Case No. 23-09001

     Docket    Docket
                                                      Description
      Date      No.



1
  The Order on the Adversary Proceeding was entered on both the docket for the Adversary
Proceeding and the main bankruptcy docket. For the sake of completion, the Excluded Lenders
appeal from both orders.
                                            8
     Case 23-09001 Document 343 Filed in TXSB on 07/08/23 Page 9 of 20




1/24/2023   1     Adversary Complaint
1/24/2023   15    Notice of Scheduling Conference Scheduled for January 27, 2023 at
                  3:30 P.M. (Central Time)
1/26/2023   18    Status Report
1/28/2023   19    Courtroom Minutes from hearing held January 24, 2023
1/28/2023   20    Notice of Continued Scheduling Conference on February 1, 2023 at
                  12:00 p.m. (Central Time)
1/31/2023   21    Transcript regarding Motion to Extend the Stay held on January 27,
                  2023 before Judge David R. Jones
2/1/2023    25    Notice of Filing of Official Transcript
2/1/2023    26    Notice of Filing of Further Revised Proposed Order (I) Scheduling
                  Certain Hearing Dates and Deadlines, (II) Establishing Certain
                  Protocols in Connection with Such Hearings, and (III) Granting Related
                  Relief
2/1/2023    27    [Ad Hoc Group of First Lien Lenders’ Proposed] Order (I) Scheduling
                  Certain Hearing Dates and Deadlines, (II) Establishing Certain
                  Protocols in Connection with Such Hearings, and (III) Granting Related
                  Relief
2/1/2023    28    Notice of Filing Redline of the [Ad Hoc Group of First Lien Lenders’
                  Proposed] Order (I) Scheduling Certain Hearing Dates and Deadlines,
                  (II) Establishing Certain Protocols in Connection with Such Hearings,
                  and (III) Granting Related Relief
2/1/2023    29    Notice of Filing Redline of the [Ad Hoc Group of First Lien Lenders’
                  Proposed] Order (I) Scheduling Certain Hearing Dates and Deadlines,
                  (II) Establishing Certain Protocols in Connection with Such Hearings,
                  and (III) Granting Related Relief
2/2/2023    32    Order (I) Scheduling Certain Hearing Dates and Deadlines, (II)
                  Establishing Certain Protocols in Connection with Such Hearings, and
                  (III) Granting Related Relief
2/14/2023   38    Amended Adversary Complaint
2/24/2023   67    Stipulated Protective Order
2/24/2023   68    Answering Defendants’ Answer to the Amended Adversary Complaint,
                  Counterclaims and Third-Party Claims
2/24/2023   69    Serta Simmons Bedding, LLC’s Motion for Summary Judgment
2/24/2023   70    Serta Simmons Bedding, LLC’s Statement of Uncontroverted Facts in
                  Support of Their Motion for Summary Judgment
2/24/2023   71    Motion for Entry of an Order Authorizing Serta Simmons Bedding,
                  LLC to File Confidential Documents Under Seal
2/24/2023   72    Sealed Documents/Exhibits Nos. 1, 2, 3, 4, 5, 6, 8, 10, 25, 26, 27 filed
                  Under Sealed in Connection with Serta Simmons Bedding, LLC’s


                                         9
    Case 23-09001 Document 343 Filed in TXSB on 07/08/23 Page 10 of 20




                  Statement of Uncontroverted Facts in Support of Their Motion for
                  Summary Judgment
2/24/2023   73    Lenders Plaintiffs’ Motion for Summary Judgment
3/3/2023    74    Stipulated Protective Order
3/6/2023    76    Stipulation between and Among the Debtors, the PTL Lenders, the DJ
                  Adversary Proceeding Defendants, the Stay Adversary Defendants, and
                  the Committee Governing Participation of the Committee in the
                  Adversary Proceedings
3/15/2023   77    Lender Plaintiffs’ Amended Motion for Summary Judgment
3/16/2023   78    Emergency Motion for Entry of an Order Authorizing the LCM
                  Defendants to File Confidential Documents Under Seal
3/16/2023   79    SEALED LCM Defendants’ Memorandum of Law in Opposition to
                  Plaintiffs’ Motion for Summary Judgment
3/16/2023   80    Redacted LCM Defendants’ Memorandum of Law in Opposition to
                  Plaintiffs’ Motion for Summary Judgment
3/16/2023   81    Declaration of Neil Lieberman in Support of the LCM Defendants’
                  Opposition to Summary Judgment with Exhibits #3, 6, 21, 22
3/16/2023   82    Declaration of Neil Lieberman in Support of the LCM Defendants’
                  Opposition to Summary Judgment with SEALED Exhibits
3/16/2023   83    Declaration of Farboud Tavangar in Support of the LCM Defendants’
                  Opposition to Summary Judgment
3/16/2023   84    Declaration of Professor Vincent Buccola in Support of the LCM
                  Defendants’ Opposition to Summary Judgment
3/16/2023   85    Serta Simmons Bedding, LLC’s Response to Answering Defendants’
                  Counterclaims
3/16/2023   87    SEALED Excluded Lenders’ Memorandum of Law in Opposition to
                  Plaintiffs’ Motion for Partial Summary Judgment
3/16/2023   89    Expert Declaration of Sarah M. Ward
3/16/2023   90    Excluded Lenders’ Counterstatement of Controverted Facts in
                  Opposition to Plaintiffs’ Motion for Partial Summary Judgment
3/17/2023   91    Exhibits to the Excluded Lenders’ Memorandum of Law in Opposition
                  to Plaintiffs’ Motion for Partial Summary Judgment
3/17/2023   92    Declaration of Anne E. Beaumont
3/17/2023   98    SEALED Declaration of Michael Hanigan
3/17/2023   99    SEALED Declaration of Erik Kreutzer
3/17/2023   100   SEALED Declaration of Theodore Kwon
3/17/2023   101   SEALED Declaration of Ryan Mollett
3/17/2023   102   SEALED Declaration of Marti P. Murray
3/17/2023   103   SEALED Declaration of Daniel Ryan

                                        10
    Case 23-09001 Document 343 Filed in TXSB on 07/08/23 Page 11 of 20




3/17/2023   104   Motion for Entry of an Order Authorizing the Excluded Lenders to File
                  Under Seal Portions of Their Memorandum of Law in Opposition to
                  Plaintiffs’ Motions for Partial Summary Judgment and Certain Exhibits
                  Thereto
3/17/2023   105   Order Granting Motion for Entry of Order Authorizing the Excluded
                  Lenders to File Under Seal Portions of Their Memorandum of Law in
                  Opposition to Plaintiffs’ Motions for Partial Summary Judgment and
                  Certain Exhibits Thereto
3/17/2023   106   Order Authorizing LCM Defendants to File Confidential Documents
                  Under Seal
3/24/2023   110   Serta Simmons Bedding, LLC’s Reply Memorandum of Law in Further
                  Support of Its Motion for Summary Judgment
3/24/2023   111   SEALED Serta Simmons Bedding, LLC’s Reply Memorandum of Law
                  in Further Support of Its Motion for Summary Judgment
3/24/2023   112   Serta Simmons Bedding, LLC’s Response to the Drop Down Group
                  Defendants’ Additional Material Facts Included in the
                  Counterstatement of Controverted Facts
3/24/2023   113   Motion for Entry of an Order Authorizing Serta Simmons Bedding,
                  LLC to File Confidential Documents Under Seal
3/24/2023   114   Reply Memorandum in Further Support of Lenders Plaintiffs’ Motion
                  for Summary Judgment filed by Invesco Senior Secured Management,
                  Inc., Boston Management and Research, Credit Suisse Asset
                  Management, LLC, Easton Vance Management, and Barings, LLC
3/27/2023   116   Emergency Motion Challenging Assertion of Privilege
3/27/2023   118   Amended Agenda of Matters Set for Hearing on March 28, 2023 at 9:00
                  A.M. (Central Time)
3/28/2023         Courtroom Minutes for hearing held on March 28, 2023 before Judge
                  David R. Jones
3/28/2023         Transcript Order Form (regarding hearing held 3/28/2023)
3/28/2023   123   PDF with audio file of hearing on 3/28/2023
3/31/2023   133   Transcript for Summary Judgment Hearing held on 3/28/2023
4/6/2023    141   Order on Summary Judgment
4/6/2023    142   Order on Summary Judgment
4/7/2023    144   Joint Notice of Appeal (by LCM defendants)
4/7/2023    145   Joint Notice of Appeal (by Excluded Lender defendants)
4/7/2023    146   LCM Defendants’ Answer to the Amended Adversary Complaint and
                  Counterclaims
4/7/2023    148   Excluded Lenders’ Answer to the Amended Adversary Complaint and
                  Counterclaims
4/21/2023   179   Notice of Fed R. Bankr. P. 7007.1 Corporate Disclosure Statement of
                  Boston Management and Research and Eaton Vance Management
                                       11
    Case 23-09001 Document 343 Filed in TXSB on 07/08/23 Page 12 of 20




4/21/2023   180   Serta Simmons Bedding, LLC’s Response to Answering Defendants'
                  Amended Counterclaims
04/28/2023 191    Answer to LCM Defendants’ Counterclaim Filed by c/o Bruce J.
                  Ruzinsk PTL Lender Group

04/28/2023 192    Serta Simmons Bedding, LLC's Response to LCM Defendants'
                  Counterclaims. Filed by Serta Simmons Bedding LLC et al.

05/01/2023 197    Emergency Motion Plaintiffs' Emergency Motion to Compel
                  Production from Defendants
05/04/2023 205    Excluded Lenders’ Opposition to Plaintiffs’ Emergency Motion to
                  Compel Production from Defendants
05/09/2023 221    Plaintiffs’ Emergency Motion to Exclude the Testimony of Sarah M.
                  Ward
05/11/2023 224    Order Granting Plaintiffs’ Emergency Motion to Exclude the Testimony
                  of Sarah M. Ward
05/11/2023 225    Transcript RE: Motion Hearing (Via Zoom) held on May 4, 2023 before
                  Judge David R. Jones
05/11/2023 226    Excluded Lenders' Memorandum of Law in Opposition to Plaintiffs'
                  Emergency Motion to Exclude the Expert Testimony of Sarah M. Ward.
05/14/2023 240    Excluded Lenders’ Pre-Trial Memorandum of Law
05/14/2023 241    SEALED Excluded Lenders’ Pre-Trial Memorandum of Law
05/14/2023 242    SEALED Serta Simmons Bedding, LLC's Pre-Trial Memorandum of
                  Law
05/14/2023 244    SEALED PTL Lenders' Pretrial Brief
05/14/2023 245    SEALED LCM Defendants’ Pre-Trial Brief
05/16/2023 263    Transcript RE: Confirmation Day One - Morning Session
05/18/2023 273    Transcript RE: Confirmation Day One -- Afternoon Session
05/19/2023 277    Transcript RE: Confirmation Day Two -- Afternoon Session
05/20/2023 282    Transcript RE: Confirmation Day Three - Morning Session (Via Zoom)
05/20/2023 283    Transcript RE: Confirmation Day Three - Afternoon Session (Via
                  Zoom)
05/21/2023 285    Transcript RE: Confirmation Day Four - Morning Session (Via Zoom)
05/21/2023 286    Transcript RE: Confirmation Day Four - Afternoon Session (Via Zoom)
05/23/2023 291    LCM Defendants’ Post-Trial Brief
05/23/2023 292    SEALED LCM Defendants’ Post-Trial Brief
05/23/2023 296    Excluded Lenders’ Proposed Findings of Fact and Conclusions of Law


                                       12
    Case 23-09001 Document 343 Filed in TXSB on 07/08/23 Page 13 of 20




05/23/2023 297      SEALED Excluded Lenders’ Proposed Findings of Fact and
                    Conclusions of Law
05/23/2023 299      Excluded Lenders’ Post-Trial Brief
05/23/2023 300      SEALED Excluded Lenders’ Post-Trial Brief
05/23/2023 302      Serta Simmons’ Proposed Findings of Fact and Conclusions of Law
05/30/2023 318      Transcript RE: Confirmation Closing Arguments
06/06/2023 324      Memorandum Opinion
06/09/2023 325      Notice of Filing of Final Post-Trial Judgment
06/14/2023 328      Final Judgment
06/20/2023 330      LCM Defendants’ Joint Notice of Appeal
06/21/2023 331      Excluded Lenders’ Joint Notice of Appeal


                     In re Serta Simmons Bedding, LLC, et al.,
                                 Case No. 23-90020
 Docket    Docket
                                                 Description
  Date      No.
06/06/2023 1045     Memorandum Opinion

06/07/2023 1050     Citadel’s Emergency Motion to Stay Order Confirming Debtors’
                    Second Amended Joint Plan Pending Appeal
06/09/2023 1055     Filing of Findings of Fact, Conclusions of Law, and Order Confirming
                    Second Amended Joint Chapter 11 Plan of Serta Simmons Bedding,
                    LLC and Its Affiliated Debtors
06/09/2023 1056     Serta Simmons’ Final Post-Trial Judgment

06/14/2023 1070     Final Judgment

06/14/2023 1071     Findings of Fact, Conclusions of Law, and Order Confirming Second
                    Amended Joint Chapter 11 Plan of Serta Simmons Bedding, LLC and
                    its Affiliated Debtors
06/15/2023 1084     Citadel’s Motion to Extend Stay of Effective Date of Confirmation
                    Order
06/16/2023 1091     Excluded Lenders’ (I) Emergency Motion to Stay and (II) Joinder to
                    Citadel Equity Fund Ltd's Motion to Extend Stay of Effective Date of
                    Confirmation Order
06/19/2023 1102     Debtors’ Opposition to Motion to Stay the Confirmation Order Pending
                    Appeal



                                          13
    Case 23-09001 Document 343 Filed in TXSB on 07/08/23 Page 14 of 20




06/20/2023 1103   PTL Lenders' Memorandum of Law in Opposition to the Motions to
                  Stay Confirmation Pending Appeal and Motion to Extend Stay of
                  Effective Date of Confirmation Order
06/20/2023 1104   LCM Defendants’ Joinder in Citadel’s Motion to Stay

06/20/2023 1107   The Official Committee of Unsecured Creditors' Omnibus Objection
                  and Joinder to the Debtors' Objection to the Emergency Motions of
                  Citadel Equity Fund Ltd. And the Excluded Lenders for (I) A Stay
                  Pending Appeal; and (II) Extension of the Stay of the Effective Date
06/21/2023 1108   Citadel’s Reply in Support of its Emergency Motion to Stay Order
                  Confirming Debtors' 2nd Amended Joint Chapter 11 Plan
06/21/2023 1115   Excluded Lenders’ Joint Notice of Appeal

06/21/2023 1124   Order Denying (A) Objectors Stay Motions, (B) LCM Lenders Joinder
                  in (I) Excluded Lenders Emergency Motion to Stay the Confirmation
                  Order and (II) Citadel Equity Fund Ltd.s Motion to Extend Stay of
                  Effective Date of Confirmation Order, and Joinders Thereto, Denying
                  Motion to Extend Time, Denying Emergency Motion
06/21/2023 1121   Courtroom Minutes

07/02/2023 1160   Transcript RE: Motions Hearing held on June 21, 2023




                                       14
    Case 23-09001 Document 343 Filed in TXSB on 07/08/23 Page 15 of 20




        SERTA SIMMONS BEDDING, LLC, INVESCO SENIOR SECURED
 MANAGEMENT, INC., CREDIT SUISSE ASSET MANAGEMENT, LLC, BOSTON
    MANAGEMENT AND RESEARCH, EATON VANCE MANAGEMENT, and
                               BARINGS LLC,
                                       v.
 AG CENTRE STREET PARTNERSHIP L.P., AG CREDIT SOLUTIONS NON-ECI
 MASTER FUND, L.P., AG SF MASTER (L), L.P., AG SUPER FUND MASTER, L.P.,
 SILVER OAK CAPITAL, L.L.C., ASCRIBE III INVESTMENTS, LLC, COLUMBIA
   CENT CLO 21 LIMITED, COLUMBIA CENT CLO 27 LIMITED, COLUMBIA
  FLOATING RATE INCOME FUND, A SERIES OF COLUMBIA FUNDS SERIES
 TRUST II, COLUMBIA STRATEGIC INCOME FUND, A SERIES OF COLUMBIA
 FUNDS SERIES TRUST I, CONTRARIAN CAPITAL FUND I, L.P., CONTRARIAN
   CENTRE STREET PARTNERSHIP, L.P., CONTRARIAN DISTRESSED DEBT
 FUND, L.P., GAMUT CAPITAL SSB, LLC, NORTH STAR DEBT HOLDINGS, L.P.,
    SHACKLETON 2013- III CLO, LTD., SHACKLETON 2013-IV-R CLO, LTD.,
   SHACKLETON 2014-V-R CLO, LTD., SHACKLETON 2015-VII-R CLO, LTD.,
SHACKLETON 2017-XI CLO, LTD., Z CAPITAL CREDIT PARTNERS CLO 2018-1
  LTD., AND Z CAPITAL CREDIT PARTNERS CLO 2019-1 LTD., LCM XIII L.P.,
LCM XIV L.P., LCM XV L.P., LCM XVI L.P., LCM XVII L.P., LCM XVIII L.P., LCM
  XIX L.P., LCM XX L.P., LCM XXI L.P., LCM XXII LTD., LCM XXIII LTD., LCM
   XXIV LTD., LCM XXV LTD., LCM 26 LTD., LCM 27 LTD. and LCM 28 LTD.,
                          Adversary Case No. 23-03007
 Docket     Docket
                                             Description
  Date        No.
1/24/2023 1        Adversary Complaint
1/24/2023 2        Declaration of Harvey Tepner in Support of Debtors’ Emergency
                   Motion for an Order (I) Declaring the Automatic Stay Applies to
                   Certain Non-Debtor Parties or Alternatively Extending the Automatic
                   Stay to Certain Non-Debtor Parties and (II) Preliminary Enjoining
                   Such Prepetition Action
1/24/2023 3        Debtors’ Emergency Motion for an Order (I) Declaring that the
                   Automatic Stay Applies to Certain Non-Debtor Parties or Alternatively
                   Extending the Automatic Stay in Certain Non-Debtor Parties and (II)
                   Preliminary Enjoining the Prepetition Action
1/27/2023 32       Courtroom Minutes for hearing held January 27, 2023 before Judge
                   David R. Jones
1/28/2023 35       Notice of Continued Scheduling Conference on February 1, 2023 at
                   12:00 p.m.
1/31/2023 49       Transcript regarding Motion to Extend the Stay held on January 27,
                   2023 before Judge David R. Jones


                                       15
    Case 23-09001 Document 343 Filed in TXSB on 07/08/23 Page 16 of 20




1/31/2023 50       LCM Lenders’ Unopposed Emergency Motion to Intervene
2/1/2023   53      Order Granting LCM Lenders’ Unopposed Emergency Motion to
                   Intervene
2/2/2023   66      Order Temporarily Staying or Enjoining Certain Prepetition Actions
2/2/2023   67      Order (I) Scheduling Certain Hearing Dates and Deadlines, (II)
                   Establishing Certain Protocols in Connection with Such Hearings, and
                   (III) Granting Related Relief
2/2/2023   68      Transcript regarding Motion Hearing held on February 1, 2023 before
                   Judge David R. Jones
2/3/2023   69      Notice of Filing of Official Transcript
2/13/2023 77       Fed. R. Bankr. P. 7001 Corporate Disclosure Statement of the LCM
                   Lender Defendants
2/15/2023 84       PTL Lenders’ Unopposed Emergency Motion to Intervene
2/24/2023 97       The Ad Hoc Group of First Lien Lenders’ Objection to Debtors’
                   Emergency Motion for an Order (A) Declaring that the Automatic Stay
                   Applies to Certain Non-Debtor Parties or Alternatively Extending the
                   Automatic Stay to Certain Non-Debtor Parties and (B) Preliminarily
                   Enjoining the Prepetition Action
2/24/2023 98       LCM Lenders’ (1) Objection to Debtors’ Emergency Motion for an
                   Order (A) Declaring that the Automatic Stay Applies to Certain Non-
                   Debtor Parties or Alternatively Extending the Automatic Stay to
                   Certain Non-Debtor Parties and (B) Preliminarily Enjoining the
                   Prepetition Action, and (2) Joinder in Ad Hoc Group’s Objection
2/24/2023 99       Declaration of Neil Lieberman Support of LCM Lenders’ Objection to
                   Debtors’ Request for Injunctive Relief
2/27/2023 100      Order Granting PTL Lenders’ Unopposed Emergency Motion to
                   Intervene
3/6/2023   103     Stipulation Between and Among the Debtors, the PTL Lenders, the DJ
                   Adversary Proceeding Defendants, the Stay Adversary Defendants,
                   and the Committee Governing Participation of the Committee in the
                   Adversary Proceedings
3/6/2023   104     Debtors’ Omnibus Reply to Objections to Debtors’ Emergency Motion
                   for an Order (I) Declaring that the Automatic Stay Applies to Certain
                   Non-Debtor Parties or Alternatively Extending the Automatic Stay to



                                        16
    Case 23-09001 Document 343 Filed in TXSB on 07/08/23 Page 17 of 20




                   Certain Non-Debtor Parties and (II) Preliminarily Enjoining the
                   Prepetition Action
3/6/2023   105     PTL Lender Intervenors’ Reply in Further Support of Debtors’
                   Emergency Motion for an Order (I) Declaring that the Automatic Stay
                   Applies to Certain Non-Debtor Parties or Alternatively Extending the
                   Automatic Stay to Certain Non-Debtor Parties and (II) Preliminarily
                   Enjoining the Prepetition Action
3/9/2023   107     LCM Lenders’ Witness and Exhibit List for Hearing on March 13,
                   2023
3/9/2023   108     Debtors’ Witness and Exhibit List for Hearing on March 13, 2023
3/9/2023   109     PTL Lender Group’s Witness and Exhibit List for Hearing on March
                   13, 2023 at 2:00 P.M. (Central Time)
3/9/2023   110     The Ad Hoc Group of First Lien Lenders’ Witness and Exhibit List
                   for Hearing on March 13, 2023
3/10/2023 111      Agenda of Matters Set for Hearing on March 13, 2023 at 2:00 P.M.
                   (Central Time)
3/13/2023 115      Courtroom Minutes for hearing held March 13, 2023 before Judge
                   David R. Jones
3/15/2023 118      Transcript regarding Status Conference held on March 13, 2023 before
                   Judge David R. Jones
3/16/2023 119      Notice of Filing of Official Transcript
3/20/2023 124      Order (I) Extending the Automatic Stay in Certain Non-Debtor Parties
                   and (II) Enjoining the Prepetition Actions




                                        17
     Case 23-09001 Document 343 Filed in TXSB on 07/08/23 Page 18 of 20




Dated: July 8, 2023                Respectfully submitted,
       Houston, Texas
                                   PORTER HEDGES LLP


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                                     18
Case 23-09001 Document 343 Filed in TXSB on 07/08/23 Page 19 of 20




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                                19
      Case 23-09001 Document 343 Filed in TXSB on 07/08/23 Page 20 of 20




                               CERTIFICATE OF SERVICE
       This is to certify that a true and correct copy of the foregoing was served by electronic
delivery on all persons and entities receiving ECF notice in this adversary proceeding on July 8,
2023.

                                                    /s/ M. Shane Johnson
                                                    M. Shane Johnson




                                               20
